Case 1:21-cv-01780-TLA Document 1-1 Filed 12/21/21 Page 1 of 15 PageID #: 6




                                 Exhibit A

                                  Order
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12/20/21, 4:43 PM     1:21-cv-01780-TLA Document 1-1Internal
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                                                   U.S. Bankruptcy Court
                                               District of Delaware (Delaware)
                                             Bankruptcy Petition #: 20-12522-JTD
                                                                                                    Date filed: 10/12/2020
 Assigned to: John T. Dorsey                                                                    341 meeting: 02/12/2021
 Chapter 11                                                                        Deadline for filing claims: 02/16/2021
 Voluntary
 Asset



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                                         (12 pgs)     debtors' objections to the administrative claims asserted by the Acthar Insurance
                                                      Claimants are SUSTAINED; written order/opinion to follow; CONFIRMATION
                                                      HEARING (PHASE 2 - DAY #1); hearing adjourned to 12/7/2021 at 11:00 AM;
   12/06/2021                                         Appearances: (See Attached Registration Sheets) (RC) (Entered: 12/06/2021)




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                                                             12/21/21     Page 15 of 15 PageID #: 20
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